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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 DEANNA MARLENE BELLAVIA aka
 DEANNA KING,

                                    Plaintiff,         Civ. No.: 1:22-cv-00842-JLS
 v.

 ORLEANS COUNTY, ORLEANS COUNTY
 SHERIFF’S DEPARTMENT, ORLEANS COUNTY
 DISTRICT ATTORNEY, COREY BLACK,
 DEPUTY JOHN DOE, and DAVID BELLAVIA,

                                    Defendants.



              DECLARATION OF SHANNON B. VANDERMEER


              I, Shannon B. Vandermeer, make this Declaration under the penalties of

perjury pursuant to 28 U.S.C. § 1746:


              1.     I am an attorney at law duly licensed to practice law in the State of

New York and this Court and am an attorney with Webster Szanyi LLP, attorneys for

Defendants, Orleans County, Orleans County Sheriff’s Department, Orleans County

District Attorney and Corey Black, (the “County Defendants”) in the above captioned

action. As such, I am fully familiar with the facts and circumstances of this matter as

herein set forth.

              2.     I make this Declaration in opposition to Plaintiff’s Motion to File an

Amended Complaint and in support of the County Defendants’ Motion to Dismiss.
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             3.     Plaintiff’s Amended Complaint contains the same claims as her

original complaint. Her first cause of action alleges she was unlawfully searched and

seized by Defendants Orleans County, Orleans County Sheriff’s Department, Orleans

County District Attorney, and Investigator Corey Black. Her second cause of action is for

a violation of equal protection against the same defendants. Her third cause of action is

against Investigator Corey Black for malicious prosecution. Lastly, her fourth cause of

action is against Investigator Corey Black for conspiracy.


             4.     These claims are futile and Plaintiff should be denied leave to amend

for the reasons set forth in the County Defendants’ accompanying memorandum of law.


             5.     In turn, the County Defendants’ motion to dismiss should be granted.


             6.     Significantly, Plaintiff’s claims are barred because there was a valid

arrest warrant signed by a neutral magistrate judge. Attached as Exhibit A is a true and

accurate copy of the arrest warrant received from the Town of Ridgeway Justice Court.


             7.     Plaintiff notified the Court on May 25, 2023 that the materials

received by the County Defendants from the Town of Ridgeway Justice Court represent

the complete version of documents contained in the town court’s criminal file. (Dkt. 41).


             8.     The Court can take judicial notice of the arrest warrant as it is integral

to the Amended Complaint and the document is of public record.




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             9.    For the reasons set forth in the County Defendants’ Memorandum of

Law, Plaintiff’s Motion to Amend should be denied and the County Defendants’ Motion to

Dismiss should be granted.


Dated:       July 19, 2023


                                              s/ Shannon B. Vandermeer
                                              Shannon B. Vandermeer




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